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                  Exhibit N
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,
 et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-965-JRR
                          v.

 THE UNITED STATES OF AMERICA, et al.,

                  Defendants.

                           DECLARATION OF DOE DECLARANT #5

          I, Doe Declarant #5, declare pursuant to 28 U.S.C. § 1746 that the following is true and

correct:

          1.     I am over the age of 18 and have personal knowledge of all the facts stated below.

          2.     I was until recently a Senior Attorney in the Office for Civil Rights (“OCR”) of the

United States Department of Education (“the Department”), in one of the five field offices which

remained open after the March 11 Reduction in Force (“RIF”). I worked in OCR, first as a General

Attorney and then as a Senior Attorney, for more than five years. I have a J.D. and a bachelor’s

degree.

          3.     OCR is required by law to exist within the Department and has the core statutory

responsibility to resolve complaints of civil rights violations in education. 20 U.S.C. §§ 3413(a),

3441(a)(3).

          4.     OCR is responsible for enforcing and investigating alleged violations of civil rights

laws that protect students and other individuals in K-12 and higher education, including Title VI

of the Civil Rights Act of 1964 (“Title VI”), Title IX of the Education Amendments of 1972 (“Title
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IX”), Section 504 of the Rehabilitation Act of 1973 (“Section 504”), the Age Discrimination Act

of 1975, Title II of the Americans with Disabilities Act of 1990 (“Title II”), and the Boy Scouts of

America Equal Access Act of 2002. A large portion of the complaints OCR receives alleged

discrimination on the basis of disability. We also handled claims of discrimination, including

harassment and bullying, on the basis of race, color, national origin, sex, and age.

        5.     As a General Attorney in an OCR field office, my job responsibilities included

investigating and resolving complaints of possible violations of civil rights laws in K-12 and higher

education. I reviewed complaints; interviewed complainants, determined if we had jurisdiction

over the complaint; prepared for and conducted witness interviews, including of employees at the

relevant school district; performed site visits when necessary; drafted data and document requests;

reviewed documents; and made determinations as to whether a violation of civil rights laws had

taken place. I drafted internal memos and external correspondence; negotiated resolution

agreements; and monitored compliance with those resolutions.

        6.     I also provided technical assistance to members of the public. My field office had

a public phone number and email address which members of the public could call or write to ask

questions. These questions were assigned to attorneys or investigators, and we would answer them

directly.

        7.     The investigations, resolutions, monitoring, information and technical assistance

that OCR provides are free to parents and students. In my experience, the civil rights enforcement

and information that our regional office provided filled a void in civil rights enforcement in many

of the states in which our office operated. Many states, including several in which our office

operated, do not have a comparable education and civil rights enforcement office. And families

often lack the resources that would be required to litigate civil rights claims themselves.


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       8.      When I was a Senior Attorney, my responsibilities were similar, and I also

supervised and mentored other attorneys in my office.

       9.      Pursuant to the Government Performance and Results Act, OCR’s policy is to

resolve 80% of complaints within 180 days. However, for several years all OCR regional offices

have struggled to achieve that goal due to budget cuts and understaffing. This has resulted in an

increasing backlog of complaints for years. The number of complaints filed with OCR has also

increased dramatically in recent years. In my experience, the higher an attorney’s caseload, the

smaller percentage of cases they are able to resolve within 180 days.

       10.     Before the RIF, in my field office, each attorney had at least 50 cases on their

docket. This was too many cases for one person to handle in a timely and responsible way. Each

attorney handled each case start to finish. Some were simple, but others were large and complex.

We have some tools, including mediation and a “rapid resolution process,” to try to resolve as

many cases as possible within the 180-day timeframe. However, it was not possible to resolve all

of our cases within 180 days or even 80% of cases within that time.

       11.     On March 11, the Department of Education initiated a RIF which impacted nearly

50% of the Department’s workforce. As part of the RIF, seven of the Department’s 12 OCR field

offices were closed. All the staff who worked in those seven field offices were placed on

administrative leave, and then their positions were eliminated. Overall, nearly half of OCR’s field

office staff were terminated under the RIF.

       12.     The OCR field office in which I worked was one of the five which was not closed

pursuant to the RIF.

       13.     In January 2025 my field office had approximately 40 employees (including

attorneys and others). Even though we were not closed by the RIF, by April 2025 we had lost about


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25% of this number, due to employees electing to take the “fork in the road” deferred resignation

programs, retirements and early retirements, and people simply choosing to leave.

       14.      When the seven OCR field offices were closed, their cases were supposed to be

absorbed by the five offices that remained open. The assignments are supposed to be:

             a. Washington, DC to receive Boston’s and New York’s cases;

             b. Atlanta to receive Philadelphia’s cases;

             c. Denver to receive Cleveland and Chicago’s cases;

             d. Kansas City to receive Dallas’s cases; and

             e. Seattle to receive San Francisco’s cases

       15.      The RIF was carried out in an abrupt and chaotic way. I know from speaking with

colleagues in the closed field offices that shortly after the RIF was announced, people in the closed

offices were cut off from their access to the electronic systems we use for our work, including the

Case Management System (“CMS”) and their ability to email anyone outside the Department.

Attorneys often keep notes on their cases outside of the CMS and only upload final documents

into the system. Due to the lack of access, however, attorneys and investigators were unable to

upload many of their working files on their cases into the CMS, write transfer memos about their

cases, or even notify parties that they had been terminated.

       16.      Thousands of complaints were left in limbo because of the RIF. I know colleagues

in closed OCR field offices who were in the middle of resolving a complaint and then were

suddenly unable to access their files or reach out to the complainant or the school district to let

them know what had happened. This means that resolution agreements that would have provided

students with relief from civil rights violations that deprive them of equal educational

opportunities, were not executed in a timely way.


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       17.     By the time I left my position more than a month after the RIF, I had not gotten a

list of the cases I was supposed to be assigned from the closed field office(s) whose cases were

supposed to be absorbed by my field office. I do not know exactly how much my caseload would

have increased. Since OCR lost nearly 50% of its field staff nationwide due to the March RIF, on

top of the losses that had occurred earlier this year due to retirements, people terminated for DEI

activity, and the mass termination of probationary employees, I understood that my caseload would

more than double.

       18.     By the time I left my position, employees in my field office still could not access

the closed field offices’ cases on our CMS. Only a person who is assigned to a particular case

within CMS can fully access and make changes to the case files. The cases from the closed field

offices had not been reassigned within CMS, so we could not access them or make any changes.

       19.     To my knowledge, no-one had reached out to complainants or parties for the cases

from the closed field offices to let them know that the attorneys handling their cases were fired, or

who would be handling their complaints going forward.

       20.     The more time passes, the more difficult it becomes to investigate a complaint,

since memories fade and documents are deleted or lost. If complaints are not resolved in a timely

manner, the harm to students increases, and an eventual resolution may come too late to be

meaningful to the complainant. For example, a student with a disability is unable to participate

equally in class because they are not receiving their approved IEP accommodations or they are

excluded from a field trip because of their disability. Similarly, students who are being harassed

based on their race, color, national origin, sex, or disability need timely intervention. When schools

do not respond or do not respond appropriately, this can lead to the denial of equal educational

opportunity.


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        21.    Some investigations require in-person investigatory visits, for instance to see if

facilities are accessible to children with disabilities, and to interview witnesses. In-person visits

will become even more difficult or impossible with only five field offices nationwide and more

than doubled caseloads.

        22.    Based on my experience with our already heavy caseloads, if my caseload more

than doubled I would not be able to fairly review and investigate all of those complaints. Some

complaints would need to go unaddressed for months, others I would need to handle in a cursory

way simply to manage the volume of work. Based on my experience within OCR, the same would

be true of my colleagues. As a result, meritorious complaints will languish and not be resolved as

a result of the RIF, and students will be denied equal educational opportunities in violation of the

law.

        23.    To my knowledge, the closed field offices’ phone numbers and email addresses

which members of the public could use to ask questions and seek technical assistance from OCR

staff were not shifted to the remaining open offices.

        24.    OCR staff had been told during meetings that the Department would be drafting

new performance review plans that would focus on whether you had resolved cases that were

consistent with the Administration’s policy priorities. Those policy priorities were described as

antisemitism, transgender athlete and bathroom cases, and “DEI” cases. This had not occurred yet

when I left.

        25.    I decided to leave my position with OCR after the RIF because I knew it would

have been impossible for me to responsibly handle the immensely increased number of cases for

which I would have been responsible, and because I did not trust that the current Administration




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would allow us to do our jobs by processing and resolving civil rights complaints that were

inconsistent with the Administration’s policy priorities.




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       I declare under penalty of perjury under the laws of the United States that, to the best of

my knowledge, the foregoing is true and correct.

       Executed on June 17, 2025.

                                                                   /s/ Doe Declarant #5*
                                                                   Doe Declarant #5


*Plaintiffs’ counsel hereby certifies that they have a signed copy of the foregoing document
available for inspection.




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